              Case: 23-3735        Document: 1       Filed: 09/07/2023      Page: 1




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                                  Filed: September 07, 2023


Mr. Brian Church Howe
University of Cincinnati College of Law
Ohio Innocence Project
P.O. Box 210040
Cincinnati, OH 45221

                     Re: Case No. 23-3735, Kayla Ayers v. Ohio Department of Rehabilitation and Correction
                         Originating Case No. : 5:20-cv-01654

Dear Counsel,

   This appeal has been docketed as case number 23-3735 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by October 10, 2023. More specific instructions are printed on each
form.

          Appellant:     Appearance of Counsel
                         Application for Admission to 6th Circuit Bar (if applicable)


          Appellee:      Appearance of Counsel
                         Application for Admission to 6th Circuit Bar (if applicable)

505.00 Appellate Filing Fee or Pauper Motion: If obligations regarding the appellate filing
fee or a motion for pauper status are not met by the deadline noted above, the appeal may be
dismissed for want of prosecution.
              Case: 23-3735        Document: 1        Filed: 09/07/2023       Page: 2




      If the district court granted pauper status on the original petition, and did not revoke
       pauper status for the appeal, no appellate filing fee is due.
      If the district court granted pauper status on the original petition, but revoked pauper
       status for the appeal (certified not in good faith), then the appellate filing fee is due in
       district court, or you may file a motion for pauper status and financial affidavit in the
       Sixth Circuit.
      If pauper status was never addressed, the appellate filing fee or a motion for pauper status
       and financial affidavit is due in the district court.

Certificate of appealability: For this appeal to proceed, the district court or this court must
issue a certificate of appealability stating at least one issue for review.

      If the district court has denied a certificate of appealability as to all issues, you may file a
       motion to grant a certificate of appealability with this court. See FRAP 22(b).
      If the district court has issued a certificate of appealability as to some, but not all issues,
       you may file a motion to expand the certificate of appealability with this court. See
       FRAP 22(b).
      If you choose to file a motion in this court, please do so as soon as possible. See 6 Cir. R.
       22(a).

Appointment of counsel: The appointment of counsel under the Criminal Justice Act is not
automatic in a habeas case. Counsel who seeks continuing appointment on appeal must file a
motion to extend the appointment.

   Should you have any questions regarding these requirements, please do not hesitate to contact
the Clerk's Office.

                                                   Sincerely yours,

                                                   s/Ryan E. Orme
                                                   Case Manager
                                                   Direct Dial No. 513-564-7079

cc: Ms. Maura O'Neill Jaite

Enclosure
          Case: 23-3735       Document: 1   Filed: 09/07/2023   Page: 3




            OFFICIAL COURT OF APPEALS CAPTION FOR 23-3735




KAYLA JEAN AYERS

         Petitioner - Appellant

v.

OHIO DEPARTMENT OF REHABILITATION AND CORRECTION, Director

         Respondent - Appellee
